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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION


In re:                                      Chapter 11

HIGHLAND CAPITAL MANAGEMENT, L.P.           Case No. 19-34054 (SGJ)

                 Reorganized Debtor.

MARC S. KIRSCHNER, AS LITIGATION            Adv. Pro. No. 21-03076-sgj
TRUSTEE OF THE LITIGATION SUB-
TRUST,                                MEMORANDUM OF LAW IN
                                      SUPPORT OF THE MOTION TO
                Plaintiff             DISMISS OF DEFENDANTS JAMES
                                      DONDERO, DUGABOY
      v.                              INVESTMENT TRUST, GET GOOD
                                      TRUST, AND STRAND ADVISORS,
JAMES D. DONDERO; MARK A. OKADA; INC.
SCOTT ELLINGTON; ISAAC LEVENTON;
GRANT JAMES SCOTT III; FRANK
WATERHOUSE; STRAND ADVISORS, INC.;
NEXPOINT ADVISORS, L.P.; HIGHLAND
CAPITAL      MANAGEMENT          FUND
ADVISORS, L.P.; DUGABOY INVESTMENT
TRUST AND NANCY DONDERO, AS
TRUSTEE OF DUGABOY INVESTMENT
TRUST; GET GOOD TRUST AND GRANT
JAMES SCOTT III, AS TRUSTEE OF GET
GOOD TRUST; HUNTER MOUNTAIN
INVESTMENT TRUST; MARK & PAMELA
OKADA FAMILY TRUST – EXEMPT TRUST
#1 AND LAWRENCE TONOMURA AS
TRUSTEE OF MARK & PAMELA OKADA
FAMILY TRUST – EXEMPT TRUST #1;
MARK & PAMELA OKADA FAMILY TRUST
– EXEMPT TRUST #2 AND LAWRENCE
TONOMURA IN HIS CAPACITY AS
TRUSTEE OF MARK & PAMELA OKADA
FAMILY TRUST – EXEMPT TRUST #2; CLO
HOLDCO,    LTD.;    CHARITABLE    DAF
HOLDCO, LTD.; CHARITABLE DAF FUND,
LP.; HIGHLAND DALLAS FOUNDATION;
RAND PE FUND I, LP, SERIES 1; MASSAND
CAPITAL, LLC; MASSAND CAPITAL, INC.;
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SAS ASSET RECOVERY, LTD.; AND CPCM,
LLC,

                 Defendants.



    MEMORANDUM OF LAW IN SUPPORT OF THE MOTION TO DISMISS OF
     DEFENDANTS JAMES D. DONDERO, DUGABOY INVESTMENT TRUST,
            GET GOOD TRUST, AND STRAND ADVISORS, INC.
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I.      INTRODUCTION

        Defendants James D. Dondero, Strand Advisors, Inc., Dugaboy Investment Trust, and Get

Good Trust (collectively, the “Dondero Defendants”) move to dismiss the Complaint and

Objection to Claims (“Complaint”) filed by Marc S. Kirschner, as Litigation Trustee of the

Litigation Sub-Trust (“Litigation Trustee”) because those claims are deficient under Federal Rules

of Civil Procedure 12(b)(1) and 12(b)(6). 1

        The Complaint, which asserts 36 sweeping causes of action against 23 defendants, attempts

to saddle Mr. Dondero, his employees, and his affiliates (however tenuously connected) with

liability for contractually sanctioned management activities undertaken for the benefit of Highland

Capital Management, L.P. (“HCMLP”). Hoping to paint everyone and everything with the same

bad brush, the Complaint vastly overreaches and falls well short of alleging viable claims against

the Dondero Defendants. As explained below, the Complaint should be dismissed under Rule

12(b)(1) because the Court lacks subject matter jurisdiction to hear or decide any of the non-core

state-law claims asserted against the Dondero Defendants. In addition, the Complaint should be

dismissed under Rule 12(b)(6) because the Litigation Trustee lacks standing to assert the claims,

they are barred by the applicable statutes of limitations, and/or the allegations of the Complaint

fail to sufficiently plead the claims asserted.

II.     FACTUAL BACKGROUND

        A.      HCMLP’s History

        HCMLP is an SEC-registered investment advisory business founded in 1993 by defendants

Mr. Dondero and defendant Mark A. Okada. See Compl., ¶¶ 1, 12-13. Although the Complaint



1
  Rules 12(b)(1) and 12(b)(6) are made applicable in bankruptcy through Federal Rules of Bankruptcy
Procedure 7012(b). With all due respect, the Dondero Defendants do not consent to the entry of final orders
or judgment by the Bankruptcy Court.


                                                    1
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describes HCMLP and its affiliates as a complex “web” of entities operated at the whim and for

the sole benefit of Mr. Dondero, for 26 years prior to filing a chapter 11 petition, HCMLP operated

as a legitimate (and heavily regulated) Registered Investment Advisor (“RIA”) for the benefit of

its managed funds and investors.       As the Complaint acknowledges, under Mr. Dondero’s

leadership, by the mid-2000s, HCMLP grew to over 100 employees, including “executive-level

management employees, finance and legal staff, investment professionals, and back-office

accounting and administrative personnel.” Id., ¶ 40. Thus, while the Litigation Trustee alleges

that Mr. Dondero was “HCMLP’s solitary decision-maker on all matters concerning the

company’s operation and management,” id., ¶ 40, that allegation makes no sense. Over the years,

with the assistance of an expanded workforce and skilled executive team, Mr. Dondero shifted

HCMLP’s original focus on the leveraged loan market to “other asset classes, such as high-yield

credit, public equities, real estate, private equity and special situations, structured credit, and

sector- and region-specific industries.” Id., ¶ 38. At its high-water mark, HCMLP had assets under

management “exceed[ing] $40 billion.” Id., ¶ 41 n.8.

       Following the financial crisis in 2008, HCMLP and some of its managed funds and

affiliates, like many other financial institutions and financial advisors across the globe, faced

several lawsuits. Compl., ¶ 4. The Complaint characterizes those lawsuits as a “looming threat,”

id., ¶ 5, but between 2008 and HCMLP’s bankruptcy filing in 2019, virtually none of those lawsuits

resulted in any sizeable liability against HCMLP, and certainly none that would render HCMLP

insolvent. Indeed, the only significant award issued against HCMLP at any time between 2008

and 2019 (and the only one identified in the Complaint) is a $190 million arbitration award in favor

of the Redeemer Committee. See Compl., ¶¶ 8, 84.

       B.      The Dondero Defendants

       James D. Dondero and Strand. For most of its operating history, Mr. Dondero served as


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the Chief Executive Officer of HCMLP by virtue of his ownership (and role as sole director) of its

general partner, Strand Advisors, Inc. (“Strand”). Compl., ¶¶ 12, 14. Notably, contrary to the

allegations of the Kirschner Complaint, when HCMLP filed for bankruptcy, Mr. Dondero did not

own any direct economic interest in the Debtor, as this Court has acknowledged. 2

        Moreover, as the Litigation Trustee acknowledges, the management of HCMLP prior to

Plan confirmation was governed by the Fourth Amended and Restated Agreement of the Limited

Partnership of Highland Capital Management, L.P. (“LPA”). See Compl., ¶ 387.3 That LPA

contains several salient provisions that bear upon the allegations at issue. In particular, the

Agreement permitted Strand, as general partner:

           To “make such pro rata or non-pro rata distributions as it may determine in its sole and
            unfettered discretion” (LPA, §3.9(a));

            To “have business interests and engage in business activities in addition to those
            relating to the Partnership, including, without limitation, business interests and
            activities in direct competition with the Partnership” (id., § 4(f)).4

           To exercise “full control over all activities of the Partnership,” including by, among
            other things, (1) “purchasing and selling any asset, any debt instruments, any equity
            interests, any commercial paper, any note receivables, and any other obligation” of
            HCMLP, (2) “exchang[ing] . . . any or all of the assets of the Partnership,” (3) executing
            on behalf of HCMLP “notes . . . and any and all other contracts,” (4) “us[ing] the assets
            of the Partnership (including, without limitation, cash on hand) for any Partnership
            purpose on any terms [Strand] s[aw] fit,” (5) “distributing . . . Partnership cash or other
            assets,” (6) forming other limited or general partnerships, joint ventures, or other
            relationships and to contributing to “such partnerships, ventures, or relationships . . .
            assets and properties of the Partnership,” and (7) controlling “the conduct of any


2
  See Order (I) Confirming the Fifth Amended Plan Reorganization of Highland Capital Management, L.P
(as Modified) and (II) Granting Related Relief (“Confirmation Order”), Dkt. 1943, at ¶ 5; see also id., ¶ 18
(“Mr. Dondero owns no equity in the Debtor directly.”).
3
  The LPA is attached as Exhibit A to the Declaration of Amy L. Ruhland (“Ruhland Decl.”) filed
contemporaneously herewith. See Ruhland Decl., ¶ 2. The Court may consider the LPA because it is
incorporated into the complaint by reference. See Compl., ¶ 387; Randall D. Wolcott, M.D., P.A. v.
Sebelius, 635 F.3d 757, 763 (5th Cir. 2011).
4
 This right extended to Strand’s directors, officers, agents, and representatives. Ruhland Decl., Ex. A, §
4.1(f).


                                                     3
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             litigation, the incurring of legal expenses, and the settlement of claims and suits” (id.,
             § 4.1(a)); and

Mr. Dondero, in turn, was authorized to act on behalf of Strand by virtue of his role as Strand’s

sole director, as set forth in Strand’s organizational documents. 5 This makes sense: an entity like

Strand could not act without an individual at the helm.

        Dugaboy. Prior to Plan confirmation, Defendant Dugaboy Investment Trust (“Dugaboy”)

held a minority (0.1866%) economic interest and a 74.4426% voting interest in HCMLP’s Class

A partnership interests. See Compl., ¶ 16; Plan Confirmation Order, ¶ 18. Despite these interests,

there is no allegation that Dugaboy exercised any control of HCMLP or orchestrated or directed

any of the transactions at issue. Upon Plan confirmation, Dugaboy’s minority equity interest and

majority voting interests were extinguished.

        Get Good. Defendant Get Good Trust (“Get Good”) is a Delaware trust established by Mr.

Dondero for the benefit of his living descendants. See Compl., ¶ 28. Get Good is neither a residual

equity holder in the Debtor’s estate nor a creditor. Nor does the Complaint allege that Get Good

exercised any control of HCMLP or orchestrated or directed any of the transactions at issue.

        C.      The Bankruptcy Proceedings

        On October 16, 2019 (the “Petition Date”), in response to an adverse arbitration award of

$190 million, HCMLP filed a voluntary petition for relief under chapter 11 of title 11 of the United

States Code (the “Bankruptcy Code”). Dkt. 1. Just three months after HCMLP’s bankruptcy

filing, on January 9, 2020, Mr. Dondero agreed to resign from his positions at HCMLP and Strand.

Compl., ¶ 12.


5
  See Ruhland Decl., Exs. B & C. The Court may take judicial notice of a company’s publicly filed
organizational documents. See Rittgers v. United States, 131 F. Supp. 3d 644, 649-50 (S.D. Tex. 2015) (on
a motion to dismiss, court may consider “documents that are subject to judicial notice as public record”);
see also In re Wheelabrator Techs., Inc. S’holders Litig., 1992 WL 212595, at *11-12 (Del. Ch. Sept. 1,
1992) (taking judicial notice of certificate of incorporation).


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        On November 24, 2020, HCMP filed its Fifth Amended Plan of Reorganization (the

“Plan”), see Dkt. 1808, which the Bankruptcy confirmed on February 22, 2021 (“Confirmation

Date”). See Dkt. 1943. The Plan became effective on August 11, 2021, see Dkt. 2700, and

HCMLP has since represented that the Plan has been substantially consummated. See Adv. Proc.

No. 3:21-cv-01895-D, Dkt. 14, at 17-20. The Litigation Trustee did not commence this Adversary

Proceeding until eight months after the Confirmation Date, well after the Plan had gone effective..

III.    LEGAL STANDARD

        Pursuant to Federal Rule of Civil Procedure 12(b)(6) and Federal Rule of Bankruptcy

Procedure 7012(b), to survive a motion to dismiss, “a complaint must contain sufficient factual

matter, accepted as true, ‘to state a claim for relief that is plausible on its face.’” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

“[A] complaint must allege ‘more than labels and conclusions,’ as ‘a formulaic recitation of the

elements of a cause of action will not do.” Heinze v. Tesco Corp., 971 F.3d 475, 479 (5th Cir.

2020) (quoting Twombly, 550 U.S. at 555); see also In re Soporex, Inc., 463 B.R. 344, 367 (Bankr.

N.D. Tex. 2011) (“[A] court is not to strain to find inferences favorable to the plaintiff and is not

to accept conclusory allegations, unwarranted deductions, or legal conclusions.”) (internal

quotation omitted). Further, where (as here), a complaint alleges multiple claims against multiple

defendants, the pleading standards must be applied “separately to each claim and each defendant.”

Winslow v. Paxton, 2017 WL 283281, at *2 (N.D. Tex. Jan. 20, 2017).




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IV.     THE COMPLAINT AGAINST THE DONDERO DEFENDANTS SHOULD BE
        DISMISSED6

        A.      The Court Does Not Have Subject Matter Jurisdiction Over The Non-Core,
                State-Law Claims Asserted Against The Dondero Defendants

        The Complaint should be dismissed because the majority of the 24 claims asserted against

the Dondero Defendants are non-core, state-law claims over which the Bankruptcy Court lacks

subject matter jurisdiction under 28 U.S.C. § 1334. 7 “Federal courts are courts of limited

jurisdiction . . . and possess only the power authorized by Constitution and statute.” Kokkonen v.

Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). “The source of the bankruptcy court’s

jurisdiction is 28 U.S.C. §§ 1334 and 157.” In re U.S. Brass Corp., 301 F.3d 296, 303 (5th Cir.

2002) (citation omitted). In relevant part, Section 1334 provides federal “district courts” with

“original but not exclusive jurisdiction of all civil proceedings . . . related to cases under title 11.”

28 U.S.C. § 1334(b).8 The district court may refer (and has referred here) “proceedings . . . related

to a case under title 11 . . . to the bankruptcy judges for the district.” Id. § 157(a); Misc. Order No.



6
 The Complaint alleges many similar allegations against defendants Mark A. Okada (and his family trusts),
Scott Ellington, Isaac Leventon, Frank Waterhouse, NexPoint Advisors, L.P., and Highland Capital
Management Fund Advisors, L.P. The Dondero Defendants hereby incorporate by reference as if fully set
forth herein the Motions to Dismiss filed by these defendants. See Dkt. Nos. 125, 126, 128, 129, 130, 133,
136, and 137.
7
 In particular, Counts I-VIII, X, XIV-XVII, and XXV-XXVI are non-core claims. See In re Morrison, 409
B.R. 384, 390 (Bankr. S.D. Tex. 2009) (breach of fiduciary duty, conspiracy, and conversion proceedings
are non-core); Mirant Corp. v. The Southern Co., 337 B.R. 107, 117–18 (N.D. Tex. 2006) (alter-ego,
unlawful dividend, and aiding and abetting breach of fiduciary duty claims are non-core); In re Royce
Homes L.P., 2011 WL 13340482, at *2 (Bankr. S.D. Tex. Oct. 13, 2011) (fiduciary duty, conversion,
conspiracy, and unjust enrichment are non-core). Notably, even the fraudulent transfer claims arise in part
under state law—namely, the Texas Uniform Fraudulent Transfer Act (“TUFTA”). See Tex. Bus. & Com.
Code § 24.005(a)(1)-(2). The Fifth Circuit has not decided whether fraudulent transfer claims are core or
non-core when the pleading asserts those claims under both the TUFTA and the Bankruptcy Code. At least
one Texas bankruptcy court has held that they are non-core. See In re Brown Med. Ctr., Inc., 578 B.R. 590,
597 (Bankr. S.D. Tex. 2016).
8
  Because these claims are “non-core,” the only relevant proceedings described in 28 U.S.C. § 1334(b) are
those “related to cases under title 11.” See In re Wood, 825 F.2d 90, 97 (5th Cir. 1987); U.S. Brass Corp.,
301 F.3d at 304.


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33 (N.D. Tex. Aug. 3, 1984). But the “related to” jurisdiction of the district courts under Section

1334(b), and by reference, the bankruptcy courts, is much narrower after confirmation of the

relevant plan of reorganization. In re Craig’s Stores of Texas, Inc., 266 F.3d 388, 390 (5th Cir.

2001). For the most part, it “ceases to exist.” Id. (emphasis added); accord In re Galaz, 841 F.3d

316, 322 (5th Cir. 2016) (same). Post-confirmation, the debtor no longer needs the “protection”

of the bankruptcy court to “facilitate ‘administration’ of the . . . estate.” Id. Accordingly, in

ascertaining its post-confirmation subject matter jurisdiction, the Bankruptcy Court must conform

to an “exacting,” “narrow[]” theory of jurisdiction. Id. The Court continues to have jurisdiction

only over “matters pertaining to the implementation or execution of the plan.” Id.

        The exacting standard adopted and applied by the Fifth Circuit makes clear that this Court

lacks post-confirmation jurisdiction over the non-core, state law claims asserted in the Complaint

against the Dondero Defendants. None of those claims bears upon the “implementation or

execution of the plan.”9 Accordingly, this Court should dismiss Counts III–VIII, X, XIV–XVII,

and XXV–XXVI against the Dondero Defendants for lack of subject matter jurisdiction.

        B.      The Litigation Trustee Lacks Standing To Pursue Non-Retained State-Law
                Claims

        The state-law claims asserted against the Dondero Defendants also should be dismissed

because the Litigation Trustee lacks standing to pursue them. Specifically, the Litigation Trustee

lacks standing to pursue Counts III–VIII, X, XIV–XVII, and XXV–XXVI because the Plan did

not specifically and unequivocally reserve those claims. It is axiomatic that, after confirmation of



9
  Some courts have wrongly considered whether a plan reserved particular claims in determining their post-
confirmation “related to” jurisdiction. See, e.g., In re Coho Energy, 309 B.R. 217, 221 (Bankr. N.D. Tex.
2004). That is error. The terms of the plan cannot confer subject matter upon a bankruptcy court. U.S.
Brass, 301 F.3d at 303; accord Pelican Refining Co. LLC v. Adams & Reese, LLP, 2007 WL 1306808, at
*3 (S.D. Tex. May 3, 2007); Kokkonen, 511 U.S. at 377 (federal jurisdiction “is not to be expanded by
judicial decree”).


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a plan of reorganization, the bankruptcy estate “ceases to exist, and the debtor loses its status as

debtor-in-possession along with its authority to pursue claims as though it were a trustee.” Rossco

Holdings, Inc. v. McConnell, 613 F. App’x 302, 306 (5th Cir. 2015) (quoting In re SI

Restructuring, 714 F.3d 860, 864 (5th Cir. 2013)). “[B]y losing authority to pursue a claim, the

debtor loses standing with respect to that claim.” Id. (emphasis added). A plan of reorganization

may vest a post-confirmation debtor or trustee with authority to pursue one or more claims held

by the estate, 11 U.S.C. § 1123(b)(3), but “the ability of the debtor to enforce a claim once held

by the estate is limited to that which has been retained in the plan.” In re United Operating, LLC,

540 F.3d 351, 355 (5th Cir. 2008). “Without an effective reservation, the debtor has no standing

to pursue a claim that the estate owned before it was dissolved.” In re SI Restructuring, 714 F.3d

at 864 (internal quotations omitted); In re United Operating, 540 F.3d at 355.

       The Fifth Circuit has held that a plan’s claim retention language must be “specific and

unequivocal.” In re United Operating, 540 F.3d at 355; accord Rossco, 613 F. App’x at 308. This

requirement ensures that creditors have adequate notice of which claims the debtor intends to

pursue after confirmation so that they can “determine whether a proposed plan resolves matters

satisfactorily before they vote to approve it.” In re United Operating, 540 F.3d at 355. A blanket

reservation of “any and all” claims, or a laundry list of generic claims, is insufficiently specific to

meet this requirement. Id. at 356; Rossco, 613 F. App’x at 306–07. Likewise, a reservation of

claims “arising under the Bankruptcy Code”—even if specific and unequivocal—is insufficient to

preserve state common-law claims. In re United Operating, 540 F.3d at 356; accord In re SI

Restructuring Inc., 714 F.3d at 862-63; Rossco, 613 F. App’x at 306–07; see also Tepper v. Keefe

Bruyette & Woods, Inc., 2012 WL 4119490, at *5 (N.D. Tex. Sept. 19, 2012) (no “standing to

pursue a fraudulent transfer claim under Texas and New York statutory law” where the plan “only




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provide[d] for avoidance claims under . . . sections 544, 548, and 550 of the Bankruptcy Code”).

       Pursuant to these standards, the Plan and Plan Supplement fail to specifically and

unequivocally retain the state-law claims asserted against the Dondero Defendants. The Plan

contains sweeping language purporting to “retain all rights to commence, pursue, litigate or settle,

as appropriate, any and all Causes of Action,” defined to include “any claims under any state or

foreign law, including, without limitation, any fraudulent transfer or similar claims.” See Plan,

Dkt. No. 1943, at 101, 146–47. That is exactly the kind of generalized, nonspecific language that

the Fifth Circuit has repeatedly found insufficient to preserve standing.         See In re United

Operating, 540 F.3d at 356 (neither “blanket reservation of ‘any and all claims’ arising under the

Code,” nor “specific reservation of other types of claims under various Code provisions” sufficient

to preserve the common-law claims); In re SI Restructuring, Inc., 714 F.3d at 860 (same).

       The Plan Supplement fares no better. In what can only be described as a kitchen-sink

approach, the Supplement contains a laundry list of purportedly retained claims—including

“claims brought under state law, claims brought under federal law, [and] claims under any

common-law theory of tort or law or equity”—that is the equivalent of a blanket reservation of

claims. See Dkt. No. 1875-3. What is more, the Supplement broadly purports to retain that laundry

list of claims against a multi-page list of potential defendants. That overbroad list of potential

claims and defendants did not apprise the Dondero Defendants of which, if any, claims might

actually be filed against them post-confirmation.       In the absence of a more “specific and

unequivocal” retention of the state-law claims asserted against the Dondero Defendants, the Plan

and Supplement fail to confer the requisite standing on the Litigation Trustee.

       In any event and at the very least, the Litigation Trustee’s claims against the Dondero

Defendants for illegal distributions under the DRULPA (Count III), declaratory judgment (Counts




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VI-VIII & X), aiding and abetting or knowing participation in breach of fiduciary duty (Count

XV), and conspiracy (Count XVI) should be dismissed because neither the Plan nor the

Supplement mentions those claims at all. As a result, those claims were not retained, and the

Litigation Trustee lacks standing to pursue them.

       C.      The Fraudulent Transfer Claims Should Be Dismissed

       In Counts I-II, XVIII-XIX, XXII-XXIII, and XXXI-XXXIII, the Litigation Trustee seeks

avoidance of transfers allegedly made to the Dondero Defendants dating back to 2010. Compl.,

¶¶ 168-180, 310-320. These claims should be dismissed for several reasons.

       Constructive & Fraudulent Transfers (Counts I-II, XVIII-XIX, & XXII-XXIII). These

Counts seek avoidance of transfers that occurred many years into the past. But the Litigation

Trustee’s avoidance powers are limited in time. Section 548(a)(1) allows the Litigation Trustee to

avoid transfers only to the extent they were “made or incurred on or within 2 years before the date

of the filing of the petition.” 11 U.S.C. § 548(a)(1). Because HCMLP’s chapter 11 bankruptcy

petition was filed on October 16, 2019, the Litigation Trustee generally cannot avoid transfers

made before October 16, 2017. Curtis v. Cerner Corp., 621 B.R. 141, 179-80 (S.D. Tex. 2020).

To justify a longer lookback period, the Litigation Trustee relies on two statutory provisions:

Bankruptcy Code § 544 and 26 U.S.C. § 6502. As explained below, the Trustee’s reliance on these

statutory provisions is unavailing, and the Court should dismiss the fraudulent transfer claims to

the extent that the transfers occurred prior to October 16, 2017.

       First, the Litigation Trustee cannot rely on Bankruptcy Code § 544 to extend the limitations

period because the Trustee has not pleaded allegations to support its application. To utilize Section

544(b)(1) and acquire the benefit of the longer, four-year statute of limitations for avoidance




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actions prescribed under state law (the TUFTA),10 the Litigation Trustee must plead “the existence

of an actual unsecured creditor holding an allowable secured claim as of the date of the petition

that could avoid the challenged transfer.” In re Essential Fin. Educ., Inc., 629 B.R. 401, 419-20

(Bankr. N.D. Tex. 2021) (Larson, J.).11 Moreover, the Litigation Trustee must plead the existence

of a triggering unsecured creditor for each of the alleged fraudulent transfers at issue. In re Giant

Gray, Inc., 629 B.R. 814, 828 (Bankr. S.D. Tex. 2020). The Litigation Trustee fails to do so with

respect to any of the alleged fraudulent transfers at issue, which is preclusive.12

        Second, the Litigation Trustee’s effort to invoke the so-called “golden creditor” rule by

making passing reference to 26 U.S.C. § 6502 is also unavailing. See Compl., ¶¶ 174, 180, 249,

254, 316, 320 (citing 26 U.S.C. § 6502). Section 6502 affords the IRS ten years to bring a

collection action from the date of a timely tax assessment. While a minority of courts have allowed

a trustee to stand in the shoes of the IRS and benefit from this ten-year lookback period, the Fifth

Circuit has not sanctioned this practice. And for several reasons, the Court should reject the

Litigation Trustee’s effort to invoke the IRS lookback period.

        First, the Trustee’s allegations are insufficient to establish that 26 U.S.C. § 6502 even

applies. There is no allegation that the IRS is the triggering creditor. Nor does the Complaint


10
 Under the TUFTA, a fraudulent transfer claim must be filed “within four years after the transfer was
made or the obligation was incurred.” Tex. Bus. & Com. Code § 24.010.
11
   The need to identify a triggering creditor is particularly acute with respect to constructive fraudulent
transfer claims. In re Northstar Offshore Group, LLC, 616 B.R. 695, 724 (Bankr. S.D. Tex. 2020); see also
In re Dual D Health Care Operations, Inc., 2021 WL 3083344, at *15-16 (Bankr. N.D. Tex. July 21, 2021)
(complaint’s failure to identify a “triggering creditor” warranted dismissal for failure to state plausible claim
under section 544(b)); In re Specialty Select Care Ctr. of San Antonio, LLC, 2021 WL 3083522, at *16-17
(Bankr. N.D. Tex. July 21, 2021) (same); In re Giant Gray, Inc., 629 B.R. 814, 828 (Bankr. S.D. Tex. 2020)
(same).
12
   Even if the Litigation Trustee could allege the existence of a triggering creditor on the dates of each
transfer at issue, that would only allow the Trustee to avoid transfers dating back four years before the
Petition Date—to October 16, 2015. To the extent the Complaint seeks to avoid transfers before that date
(as it does in Counts I-II, XVIII-XIX, & XXII-XXIII), the Complaint should be dismissed.


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identify an “assessment of any tax” the IRS could have or did make, the date of such assessment,

the type of assessment, or any other facts that would enable this Court to ascertain the basis for the

Litigation Trustee’s invocation of 26 U.S.C. § 6502. There also is no allegation that would permit

the Court to infer that the IRS could even invoke this statute to collect taxes dating back ten years.

See In re Taylor, Bean & Whitaker Mortgage Corp., 2018 WL 6721987, at *6 (Bankr. M.D. Fla.

Sept. 28, 2018) (“The Court is unaware of case law permitting the IRS to avoid transfers made

prior to the original taxpayer assessment (or, alternatively, prior to accrual of the tax liability).”). 13

Under these circumstances, the Complaint fails to plead any facts that would entitle the Litigation

Trustee to invoke the golden creditor rule.

        In addition, as a matter of statutory interpretation and policy, the Court should reject the

Litigation Trustee’s invitation to apply the golden creditor rule. Notably, only in a “‘few and far’

between” adversary proceedings have courts permitted bankruptcy trustees to wield federal tax

law as a “weapon” to extend the relevant statute of limitations. In re Kipnis, 555 B.R. 877, 883

(S.D. Fla. 2016). There are several problems with these courts’ analysis.

        Most notably, the operative language of Section 544(b)(1) states that certain transfers are

“voidable under applicable law.” By its plain terms, Section 6502(a)(1) does not grant the IRS the

power to “void” any transfer (nor does it provide the IRS with any state-law remedy); it merely

gives the IRS the right to levy taxes. It makes no sense to read 26 U.S.C. § 6502 to permit the

avoidance of transfers—something not even the IRS cannot do. Moreover, it is inappropriate to

treat a trustee in bankruptcy as if it is on par with a sovereign. In re Vaughan Co., 498 B.R. 297,




13
  Notably, as several of the defendants previously have argued in connection with their motions to withdraw
the reference, whether the IRS itself could invoke the ten-year lookback period requires “substantial and
material” consideration of federal tax laws which must be resolved by the District Court. See, e.g., In re
Nat’l Gypsum Co., 145 B.R. 539, 541 (N.D. Tex. 1992).


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304-05 (D. N.M. 2013). Unlike the IRS, a trustee is not vindicating public rights—it is vindicating

the rights of private creditors. See id. at 305. Where the U.S. government seeks to vindicate

private rather than public rights in bankruptcy, the state statute of limitations generally applies. Id.

at 304 (citing Marshall v. Intermountain Elec. Co., Inc., 614 F.2d 260, 263 n.3 (10th Cir. 1980);

S.E.C. v. Calvo, 378 F.3d 1211, 1218 (11th Cir. 2004)).

        Further, interpreting the law to permit a bankruptcy trustee to invoke the tax statute’s ten-

year lookback period has the potential to “eviscerate” the bankruptcy courts’ long-standing

practice of looking to state law for the relevant limitations period. In re Kipnis, 555 B.R. at 883.

Because “[t]he IRS is a creditor in a significant percentage of bankruptcy cases,” such an

interpretation would undoubtedly encourage “widespread use of § 544(b) to avoid state statute of

limitations.” Id. at 883. The Fifth Circuit has prevented similar efforts to extend Section 544(b)(1)

before. See, e.g., In re Mirant Corp., 675 F.3d 530, 535 (5th Cir. 2012) (Federal Debt Collection

Procedures Act does not constitute “applicable law” under § 544(b)). The law should not be

interpreted in this manner, and the few courts that have done so are wrong.

        Preferential Transfers (Count XXXI). Pursuant to 11 U.S.C. § 547(c)(9), a trustee may

not avoid preferential transfers of less than $6,825. The Complaint alleges at least two transfers

to Mr. Dondero during the year before the Petition Date below this threshold amount. Compl., ¶

362. The Complaint must be dismissed to the extent it seeks avoidance of these transfers.

        Expense Transfers (Counts XXXII-XXXIII). The Complaint also seeks to avoid alleged

expense transfers made to Mr. Dondero in the year before the Petition Date, invoking 11 U.S.C. §

548. Compl., ¶¶ 368-377. Section 548 allows a trustee to avoid intentional fraudulent transfers if

the transfers occurred “with actual intent to hinder, delay, or defraud.” The statute also allows the

avoidance of constructive fraudulent transfers if the debtor received “less than a reasonably




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equivalent value in exchange for such transfer” and was insolvent at the time of the transfer, or if

other conditions existed at the time of the transfer warranting its avoidance. The Complaint fails

to adequately plead facts supporting the avoidance of any of the alleged expense transfers.

        As to the allegedly constructively fraudulent expense transfers, the Complaint only seeks

avoidance of the transfers “[t]o the extent [they] do not constitute reimbursement for valid

expenses.” Compl., ¶ 369. In other words, the Complaint does not allege the transfers were not

valid reimbursements, nor does it make any plausible allegations about why they should be

considered invalid (other than allegations made on speculative “information and belief”). Nor

does the Complaint allege that the transfers were made for less than reasonably equivalent value,

as is required.

        As for the allegedly intentionally fraudulent expense transfers, the Complaint is similarly

deficient. Again, the Complaint only seeks to avoid these transfers “[t]o the extent [they] do not

constitute reimbursement for valid expenses,” Compl., ¶ 374, but offers no reason why the

transfers should be considered anything other than valid reimbursements. See Compl., ¶ 376.

Further, beyond rehashing allegations relating to Mr. Dondero’s other unrelated bad acts, the

Complaint makes no particular allegations demonstrating that Mr. Dondero made the transfers

with specific intent to “hinder, delay, or defraud” creditors, which is preclusive. See VeroBlue

Farms USA, Inc. v. Wulf, 465 F. Supp. 3d 633, 647 (N.D. Tex. 2020) (Rule 9(b) applies to

intentional fraudulent transfer claims).

        Counts XXXII and XXXIII are deficiently pleaded, and they should be dismissed.

        D.        The Complaint Should Be Dismissed For Multiple Additional Reasons

                  1.    The Complaint’s Breach Of Fiduciary Duty Claims Fail

        In Counts IV, V, XIV, XV, and XVI, the Litigation Trustee alleges that Mr. Dondero and

Strand breached their fiduciary duties to HCMLP by, among other things, (1) creating certain


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“lifeboats,” including NexPoint Advisors, L.P. (“NexPoint”) and Highland Capital Management

Fund Advisors, L.P. (“HCMFA”), (2) engaging in actions leading to pre-petition litigation, and (3)

facilitating or directing certain transfers. See Compl., ¶¶ 187-208, 259-265. The Complaint further

alleges that Get Good aided and abetted a breach of fiduciary duty by Mr. Dondero and Strand

with respect to the CLO Holdco Transaction. Id., ¶ 269.14 And finally, the Complaint alleges that

Get Good “conspired with Dondero to breach his fiduciary duties to HCMLP by intentionally

siphoning assets away from HCMLP to evade HCMLP’s creditors.” Id., ¶ 271. These claims each

fail for several independent reasons.

                         a.      Counts IV, XIV, and XVI are time-barred.

        The Complaint does not allege which state’s law applies to the claims for breach of

fiduciary duty, but in this case it makes no difference, because Counts IV, XIV, and XVI are time-

barred under both Delaware and Texas law. Delaware applies a three-year statute of limitations

to breach of fiduciary duty claims, while Texas applies a four-year statute of limitations to such

claims. In re Brown Sch., 368 B.R. 394, 402-03 (Bankr. D. Del. 2007); Tex. Civ. Prac. & Rem.

Code Ann. § 16.004(a)(4). Texas also applies a four-year statute of limitations to claims for

“knowing participation” in breach of fiduciary duty, 15 as well as to claims for civil conspiracy to

breach fiduciary duty. Senger Creek Dev., LLC v. Fuqua, 2017 WL2376529, at *11 (Tex. Ct.

App.—Houston [1st Dist.] June 1, 2017, no pet.); Agar Corp., Inc. v. Electro Circuits Int’l, LLC,


14
   The Complaint describes the CLO Holdco Transaction as one in which Dugaboy issued a note to Get
Good. Compl., ¶ 126. Get Good then gave the note to HCMLP in exchange for certain assets. Id., ¶¶ 126-
127. The Litigation Trustee alleges that this transaction was problematic because liquid assets were
exchanged for an illiquid note worth less than the assets. Id., ¶ 126. Ultimately the assets were contributed
to defendant CLO Holdco Ltd. Id.
15
   Because the Texas Supreme Court has not recognized a tort for “aiding and abetting” breach of fiduciary
duty, the federal courts may not do so. In re DePuy Orthopaedics, Inc., Pinnacle Hip Implant Prod. Liab.
Litig., 888 F.3d 753, 782, 781 (5th Cir. 2018). To the extent the Complaint seeks to hold the defendants
liable for aiding and abetting breach of fiduciary duty under Delaware law, a three-year statute of limitation
applies. See In re Brown Sch., 368 B.R. at 402-03.


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580 S.W.3d 136, 142 (Tex. 2019) (claim for civil conspiracy is governed by the same limitations

period as the underlying tort).

       Lifeboat Scheme (Count IV). Count IV seeks to hold Mr. Dondero and Strand liable for

engaging in the so-called “lifeboat scheme.” According to the Complaint, that scheme began “in

or about 2011,” when Mr. Dondero and Strand conceived of creating new entities for the purpose

of siphoning money away from HCMLP. Compl., ¶ 49. Allegedly in furtherance of that scheme,

Mr. Dondero and Strand allegedly created NexPoint “in March 2012,” after which NexPoint,

“[b]etween 2012 and 2015,” allegedly received fees for business activities undertaken by HCMLP

and its employees. Id., ¶¶ 50-52. Further, according to the Complaint, “[b]etween 2012 and [May]

2017,” HCMLP loaned NexPoint “approximately $30 million” but paid no principal or interest to

NexPoint during that period. Id., ¶¶ 53-54.

       As to HCMFA, the Complaint alleges that Mr. Dondero caused HCMLP to transfer its

obligations for certain investment advisory services to HCMFA “[o]n December 15, 2011” for “no

consideration.” Id., ¶ 59. The Complaint also alleges that “[f]ollowing the transfer, it was HCMFA

rather than HCMLP that received” investment advisory fees. Id. Further, the Complaint alleges

that, starting in 2011, HCMLP loaned HCMFA millions of dollars but that Mr. Dondero caused

HCMFA to enter into “multiple forbearances” preventing the loans’ repayment. Id., ¶ 61.

       These allegations make clear that the conduct giving rise to the breach of fiduciary duty

claim relating to the “lifeboat scheme” began in 2011 or 2012, more than nine years before the

Complaint was filed and well outside of the applicable four-year statute of limitations. As a result,

Count IV is time-barred.

       Fraudulent Transfers (Counts XIV, XXII, & XXIII). The Complaint also alleges that Mr.

Dondero and Strand breached their fiduciary duties to HCMLP by, among other things (1) causing




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the company to make “payments of at least $519,000 per year to Massand Capital from November

2014 through 2019” (Compl., ¶¶ 157, 260) and (2) causing HCMLP to make equity distributions

“between 2010 and 2012 and 2015 and 2019” that were “for Dondero’s and Okada’s ultimate

benefit” (id., ¶¶ 131-132, 262, 311, 318). To the extent that this breach of fiduciary duty claim is

based on payments and transfers that occurred more than four years before the Petition Date—

prior to October 16, 2015—they are time-barred and should be dismissed.

        Civil Conspiracy (Count XVI).            For similar reasons, the Complaint’s vague civil

conspiracy allegation against Get Good—that it “conspired with Dondero to breach his fiduciary

duties to HCMLP by intentionally siphoning assets away from HCMLP to evade HCMLP’s

creditors” (see id., ¶ 271)—is time-barred because it relates to the supposed “lifeboat scheme,”

which began well outside the applicable four-year statute of limitations period. Id., ¶ 271.16

                         b.      The LPA precludes the breach of fiduciary claims.

        Counts IV, V, and XIV also fail because the LPA precludes those claims. Notably, the

DRULPA permits a limited partnership to restrict or even eliminate all fiduciary duties by contract.

6 Del. C. §17-1101(d); see also Brickell Partners v. Wise, 794 A.2d 1, 3–4 (Del. Ch. 2001)

(“principles of contract preempt fiduciary principles” where a limited partnership agreement

governs fiduciary duties). Where, as here, “the limited partnership agreement unambiguously

provides for fiduciary duties, any claim of a breach of fiduciary duty must be analyzed generally

in terms of the partnership agreement.” Gotham Partners, L.P. v. Hallwood Realty Partners, L.P.,

817 A.2d 160, 170-71 (Del. 2002). Applying these principles to the fiduciary duty claims asserted



16
  Nor may the Court apply any tolling doctrine to any of the fiduciary duty-related claims because there is
no allegation in the Complaint that a tolling doctrine should apply. See Sivertson v. Citibank, N.A. as
Trustee for Registered Holders of WAMU Asset-Backed Certificates WAMU Series No. 2007-HE2, 390 F.
Supp. 3d 769, 785 (E.D. Tex. 2019) (“A plaintiff seeking to avail itself of the discovery rule must plead the
rule’s application . . . .”); Le Mieux Bros. Corp. v. Armstrong, 91 F.2d 445, 446 (5th Cir. 1937) (same).


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in the Complaint makes clear that those claims are unsustainable.

        The Litigation Trustee alleges that Mr. Dondero and Strand breached their fiduciary duties

to HCMLP by (1) “transferr[ing] HCMLP’s valuable business to the lifeboat entities, including

NexPoint and HCMFA”; (2) incurring liability to UBS, Acis, Terry, HarbourVest, the Crusader

Funds, and the Redeemer Committee by managing HCMLP’s business in a manner that resulted

in potential or actual litigation liabilities; and (3) approving transfers of money and assets to

Massand Capital and CLO Holdco and approving partnership distributions to various individuals

and entities. See Compl., ¶¶ 187-213, 259-65. Notably, the Litigation Trustee does not allege that

Mr. Dondero or Strand breached HCMLP’s LPA by taking (or directing) any of these actions, nor

could it. As set forth above, the HCMLP LPA granted Strand (by and through its officers,

directors, representatives, and agents) the authority to:

           Form other entities and to contribute to those entities “assets and properties of the
            Partnership,” as well as to engage in “business interests and activities in direct
            competition with the Partnership” (LPA, §§ 4.1(a)(xi), 4.1(f))—as Strand allegedly did
            in the “lifeboat scheme”;

           Perform “any and all acts necessary or appropriate to the operation of any business of
            the Partnership,” including taking out loans, incurring indebtedness, using the assets of
            the Partnership, determining whether to negotiate, execute, or perform contracts, and
            controlling “the conduct of any litigation” (id., § 4.1(a)(ii), (v), (vi), (vii), (viii), &
            (xii)—as Strand allegedly did in relation to UBS, Acis, Terry, HarbourVest, the
            Crusader Funds, and the Redeemer Committee; and

           Distribute “Partnership cash or other assets” in its “sole and unfettered discretion” (id.,
            § 4.1(ix); id., § 3.9(a))—as Strand did in approving transfers and distributions to
            Massand, CLO Holdco, and others.

In short, the LPA granted Strand, and Mr. Dondero as Strand’s director, the broad authority to

undertake each and every action that allegedly constituted a breach of their fiduciary duties.

        Further, Section 4.1(i) of the LPA expressly limits the liability of the General Partner and

those acting on its behalf. Specifically, that section states that “[n]either the General Partner nor

its directors, officers, employees, agents, or representatives shall be liable to the Partnership or any


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Limited Partner for errors in judgment or for any acts or omissions that do not constitute gross

negligence or willful or wanton misconduct.” LPA, § 4.1(i)(i). The section also reiterates that the

General Partner may “exercise any of the powers granted to it” under the LPA “either directly or

by or through its directors, officers, employees, agents, or representatives” and states that “the

General Partner shall not be responsible for any misconduct or negligence on the part of any

agent or representative appointed by the General Partner.” Id., § 4.1(i)(ii). Again, the Litigation

Trustee has not even attempted to plead that Mr. Dondero or Strand took actions that were beyond

their powers under the LPA, nor has the Trustee alleged that Mr. Dondero’s actions amounted to

“gross negligence or willful or wanton misconduct,” as is required. Under these circumstances,

the breach of fiduciary duty claims must be dismissed.

                       c.      Counts XV and XVI should be dismissed.

       Aiding and Abetting. In Count XV, the Litigation Trustee alleges that “Scott, CLO

Holdco, DAF Holdco, DAF, Get Good, and Highland Dallas aided and abetted Dondero’s breach

of fiduciary duties relating to the CLO Holdco Transaction.” Compl., ¶ 269. This single-sentence

allegation against Get Good is insufficient to state a claim against it for several reasons. First, the

allegation is conclusory and lumps several defendants together, which is impermissible. See

Johnson v. E. Baton Rouge Fed’n of Teachers, 706 F. App’x 169, 170 (5th Cir. 2017) (citing Iqbal,

556 U.S. at 687) (“conclusory” allegations “will not be afforded the presumption of truth”);

Winslow, 2017 WL 283281, at *2 (allegations must be made separately for “each defendant”).

       Second, the allegation is insufficient to state a claim against Get Good for aiding and

abetting liability under Delaware law, which requires the Litigation Trustee to plead, at a

minimum: (1) the existence of a fiduciary relationship, (2) a breach of the fiduciary’s duty, (3)

knowing participation by a non-fiduciary in the fiduciary’s breach, and (4) damages proximately




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caused by the breach. Malpiede v. Townson, 780 A.2d 1075, 1096 (Del. 2001).17 For the reasons

set forth above, see Section IV.D.1.b, the Litigation Trustee has not adequately pleaded that Mr.

Dondero breached any fiduciary duty to HCMLP in view of the language of the LPA, nor does the

Litigation Trustee even attempt to plead Get Good’s “knowing participation” in any breach of

fiduciary duty in relation to the CLO Holdco Transaction. These failures are fatal to the claim

against Get Good.

        Civil Conspiracy. In Count XVI, the Litigation Trustee alleges that “Ellington, Leventon,

NexPoint, HCMFA, SAS, Scott, CLO Holdco, DAF Holdco, DAF, Get Good, and Highland Dallas

conspired with Dondero to breach his fiduciary duties to HCMLP by intentionally siphoning assets

away from HCMLP to evade HCMLP’s creditors.” Compl., ¶ 271. The Complaint fails to

adequately plead civil conspiracy for two core reasons.

        First, as with the aiding and abetting claim, a civil conspiracy claim cannot survive if there

is no viable underlying tort claim. Because the breach of fiduciary duty claims against Mr.

Dondero fail, there can be no civil conspiracy liability for participating in a non-existent and

deficiently pleaded tort.

        Second, the Complaint fails to allege the requisite “meeting of the minds” by the supposed

co-conspirators, which is required. MVS Int’l Corp. v. Int’l Advertising Solutions, LLC, 545

S.W.3d 180, 196 (Tex. App. 2017) (citing Tri v. J.T.T., 162 S.W.3d 552, 556 (Tex. 2005)). In this

regard, conclusory allegations are insufficient.         Instead, there must be specific allegations

demonstrating that the conspiring parties were “aware of the intended harm or proposed wrongful

conduct at the outset of the combination or agreement” and specifically intended and agreed “to


17
  As noted above, Texas law does not recognize a claim for aiding and abetting breach of fiduciary duty.
See Section IV.D.1.a, supra at n.15. The Litigation Trustee does not plead any allegations that would
support a claim against Get Good for “knowing participation” in breach of fiduciary duty under Texas law.


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accomplish something unlawful.” Id. Agreeing to engage in any particular conduct or transaction

is not enough; conspiracy “requires a specific intent to cause the intended injury.” In re Artho,

587 B.R. 866, 885 (Bankr. N.D. Tex. 2018); see also Chu v. Hong, 249 S.W.3d 441, 447 (Tex.

2008) (same). The Kirschner Complaint makes no allegations of intent against Get Good and

makes only conclusory allegations against Mr. Dondero. In the absence of specific allegations of

the requisite intent, the conspiracy claim fails.

               2.      The Complaint’s Declaratory Judgment Claims Are Insufficient

       Counts VI-VIII and X seek declaratory judgment that Mr. Dondero, Strand, and Dugaboy

are liable for HCMLP’s debts in various capacities. In Count VI, the Litigation Trustee seeks

declaratory judgment that Strand is liable to HCMLP in its capacity as general partner. Compl.,

¶¶ 209-213. Count VII seeks declaratory judgment that Mr. Dondero is liable for Strand’s debts

as Strand’s “alter ego.” Id., ¶¶ 214-219. Count VIII seeks declaratory judgment that Mr. Dondero

is liable for HCMLP’s debts as HCMLP’s “alter ego.” Id., ¶¶220-223. And Count X seeks

declaratory judgment that Dugaboy is liable for the debts of Mr. Dondero as his alter ego. Id., ¶¶

239-243. Each of these claims is deficient and should be dismissed.

       Count VI (Strand Liable as GP). As an initial matter, as the Delaware statute cited in the

Complaint explains, the liabilities of a general partner to the partnership may be altered by the

relevant partnership agreement, which is precisely what occurred here. See DRULPA, § 17-403(b)

(cited in Compl., ¶ 210). Count VI makes no reference to HCMLP’s LPA, Strand’s liabilities

pursuant to the LPA, or whether and to what extent the LPA supports a judgment that Strand should

be liable for HCMLP’s “liabilities” (none of which are specifically identified). Under these

circumstances, the Complaint falls well short of alleging a plausible claim for relief against Strand.

       Count VII (Dondero Liable as Strand’s Alter Ego). Count VII suffers from similar

problems. Again, Mr. Dondero’s liabilities as an acting officer and director of Strand are governed


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by HCMLP’s LPA—a document that Count VII simply ignores. But in addition, the allegations

of Count VII fall short in several other respects.

       Most notably, the claim fails to sufficiently allege facts that would support declaratory

judgment that Mr. Dondero is Strand’s alter ego. Under Delaware law, “to state a claim for

piercing the corporate veil under an alter ego theory, [the plaintiff] must show (1) that the

corporation and its shareholders operated as a single economic entity, and (2) that an overall

element of injustice or unfairness is present.” Trevino v. Merscorp, Inc., 583 F. Supp. 2d 521, 528

(D. Del. 2008) (dismissing alter ego claim where plaintiff failed to plead facts showing that

corporation and shareholders operated as a single economic entity). The Litigation Trustee fails

to adequately plead either element here.

       There is no allegation that Mr. Dondero and Strand “operated as a single economic entity.”

Although the Complaint alleges in conclusory fashion that Strand was a “sham entity” that “did

not observe corporate formalities,” the most the Litigation Trustee can point to in this regard is

that “Strand never held a board meeting” and that Strand rarely documented corporate action. See

Compl., ¶¶ 216, 218. Neither of these facts, even if accepted as true, establish that Strand was a

“sham” entity or a mere instrumentality for Mr. Dondero. Notably, the Litigation Trustee does not

allege that Strand was required to document Board meetings, stockholder meetings, or even

corporate actions, such that its failure to do so was improper. Nor does the Partnership Agreement

appointing Strand as General Partner require such actions.           Further, as the Complaint

acknowledges, Mr. Dondero was Strand’s sole director and sole owner, which would make any

documentation of meetings with himself quite surprising, to say the least. In the absence of any

allegation that Strand and Mr. Dondero operated as a single economic unit in a way that was

somehow “unfair” or “unjust,” Count VII is deficient and should be dismissed.




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           Count VIII (Dondero & Strand Liable as HCMLP’s A lter Ego). Count VIII likewise

fails to set forth allegations sufficient to demonstrate that Mr. Dondero or Strand acted as

HCMLP’s alter ego. Again, the Complaint simply ignores that the relationships between Mr.

Dondero, Strand, and HCMLP were governed by the LPA (as well as Strand’s organizational

documents filed with the Delaware Secretary of State), which more than suffice to establish that

all three defendants observed corporate formalities.          Nor does the Complaint point to any

provisions of the LPA that were violated by Strand or Mr. Dondero in the conduct of HCMLP’s

affairs.

           Further, the Complaint does not sufficiently allege that Mr. Dondero, Strand, and HCMLP

acted as a “single economic entity.” The most that the Complaint says is that Mr. Dondero

“through Strand and as an officer of HCMLP, dominated and exercised total control over

HCMLP,” “failed to observe corporate formalities,” and “did not distinguish between HCMLP

and his personal interests and businesses.” Compl., ¶ 221, 223. But these conclusory allegations

are insufficient in the absence of specific examples or the allegation of other facts that make the

conclusory statements plausible. The Complaint does not, for example, allege that Mr. Dondero

or Strand commingled HCMLP’s money with their own, shared bank accounts with HCMLP, used

the partnership as their personal piggybanks, or did anything else to make them economically

indistinguishable from HCMLP.18

           Count X (Dugaboy as Dondero’s Alter Ego). The Kirschner Complaint’s allegation

against Dugaboy is even more specious. Not only does the Complaint fail to allege any of the

elements of alter ego liability that would justify the declaratory judgment sought, it is unclear how


18
  The most the Complaint says about Strand is that it “listed HCMLP’s headquarters as its business
address.” Compl., ¶ 223. Putting aside that this makes sense—Strand was the GP operating HCMLP’s
business—it falls well short of establishing that the two entities “operated as a single economic entity.”


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any entity could ever be an individual’s alter ego. That legal theory makes no sense, finds no

support in any case law, and should be rejected.

                3.      The Complaint Fails To Plead A Viable Conversion Claim

        In Count XXV, the Litigation Trustee alleges that Mr. Dondero is liable for conversion.

To state a claim for conversion, a plaintiff must plead (1) the plaintiff “owned or had possession

of the property or entitlement to possession;” (2) the defendant “unlawfully and without

authorization assumed and exercised control over the property to the exclusion of, or inconsistent

with, the plaintiff’s rights as an owner;” and (3) resulting damages. Gibson v. Wells Fargo Bank,

N.A., 2016 WL 11755377, at *3 (N.D. Tex. June 9, 2016). The Complaint fails to plead these

requisite elements.

        Most notably, the Complaint fails to plead that Mr. Dondero “unlawfully and without

authorization assumed and exercised control over the property.” See id. at *3. At most, the

Complaint surmises “on information and belief” that Mr. Dondero “directed Wick Phillips to

withhold the . . . proceeds” rightfully due to HCMLP. Compl., ¶ 333. But the Complaint does not

allege that Mr. Dondero’s instruction was unlawful or unauthorized, or that Mr. Dondero ever

assumed or exercised actual control of or ownership of the proceeds. To the contrary, the

Complaint alleges that Wick Phillips, and subsequently two Cayman Islands entities, exercised

that control. Id., ¶¶ 329, 333.19 The Complaint also fails to plead that HCMLP was actually

entitled to payment of the proceeds at issue. In the absence of allegations supporting each element

of the conversion claim, it should be dismissed.




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  Although the Complaint alleges that Grey Royale Ltd., was “owned and controlled by Dondero and
Ellington,” see Compl., ¶ 333, that allegation, standing alone, does not permit a factfinder to ignore the
corporate form and hold the owners of Grey Royale Ltd. liable for conversion.


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                4.      The Litigation Trustee’s Unjust Enrichment Claim Fails As A Matter
                        Of Law

        Count XXVI also should be dismissed because unjust enrichment is not an independent

cause of action. Redwood Resort Properties, LLC v. Holmes Co. Ltd., 2006 WL 3531422, at *8

(N.D. Tex. Nov. 27, 2006) (“Unjust enrichment is not an independent cause of action but rather

characterizes the result of a failure to make restitution of benefits . . . Accordingly, the court holds

that Redwood has failed to state an unjust enrichment claim on which relief can be granted, and it

dismisses this action.”); accord Midwestern Cattle Mktg., L.L.C. v. Legend Bank, N.A., 999 F.3d

970, 972 (5th Cir. 2021) (affirming dismissal of unjust enrichment claim because it is “not a

distinct cause of action itself”). Because unjust enrichment is not an independent cause of action,

the Court should dismiss XXVI of the Complaint.

                5.      The Claims Seeking Disallowance Of Claims Are Moot

        Count XXXIV seeks disallowance of the certain proofs of claim filed by Mr. Dondero,

Dugaboy, and Get Good. See Compl., ¶¶ 379, 393. But each of the Proofs of Claim referenced in

Counts XXXIV and XXXV have been disallowed or withdrawn by consent. See Dkt. Nos. 1510,

2965, 2966, 3007, 3008, 3009, 3010, 3190. Thus, the plaintiff’s claim is moot. See Lee By &

Through MacMillan v. Biloxi Sch. Dist., 963 F.2d 837, 839 (5th Cir. 1992).

V.      CONCLUSION

        The Court should dismiss all counts against the Dondero Defendants, either in whole or in

part, because (1) the Court lacks subject matter under 28 U.S.C. § 1334 to adjudicate any of the

non-core state-law claims, (2) the Litigation Trustee lacks standing to pursue many of the claims;

(3) applicable statutes of limitations bar the claims either in whole or in part; and (4) the Complaint

fails to sufficiently plead the requisite elements of the claims asserted.




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       Dated: March 23, 2022                        DLA PIPER LLP (US)


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                                                    and Strand Advisors, Inc.



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 23, 2022, a true and correct copy of this
document was served electronically via the Court’s CM/ECF system to the parties registered or
otherwise entitled to receive electronic notices in this case.


                                                    /s/ Amy L. Ruhland
                                                    Amy L. Ruhland (Rudd)




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